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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 PAYPAL, INC.,                                      )
                                                    )
                              Plaintiff,            )
                                                    )
               v.                                   )
                                                    )
 CONSUMER FINANCIAL PROTECTION                      )   Civil Action No. 19-3700 (RJL)
 BUREAU,                                            )
                                                    )
 and
                                                    )
 KATHY KRANINGER, in her official capacity          )
 as Director, Consumer Financial Protection         )
 Bureau,                                            )
                                                    )
                              Defendants.           )
                                                    )


         NOTICE OF WITHDRAWAL OF ATTORNEY DANIEL P. KEARNEY

       Daniel P. Kearney respectfully withdraws his appearance for plaintiff PayPal, Inc. in this

matter. PayPal will continue to be represented by Kelly P. Dunbar, James D. Barton, and

Rebecca Lee, who have entered appearances on its behalf.



 Dated: November 30, 2020                        Respectfully submitted,

                                                 /s/ Daniel P. Kearney
                                                 Daniel P. Kearney (D.C. Bar No. 977148)
                                                 WILMER CUTLER PICKERING
                                                    HALE AND DORR LLP
                                                 1875 Pennsylvania Avenue, NW
                                                 Washington, DC 20006
                                                 Tel.: (202) 663-6000
                                                 Fax: (202) 663-6363
                                                 daniel.kearney@wilmerhale.com

                                                 Counsel for Plaintiff PayPal, Inc.
